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                                   UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF Colorado



In re: R. Investments, RLLP                                       §                 Case No. 21-11011
                                                                  §
                                                                  §
                       Debtor(s)                                  §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 04/27/2023                                                            Petition Date: 03/04/2021



Plan Confirmed Date:04/20/2022                                                       Plan Effective Date: 05/11/2022


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: RI-2 SubCo, LLC
                                                                                   Name of Authorized Party or Entity




/s/ Patrick R. Akers                                                    Patrick R. Akers
Signature of Responsible Party                                           Printed Name of Responsible Party
05/19/2023
Date
                                                                        1400 16th Street, 6th Floor, Denver, Colorado 80202
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Debtor's Name R. Investments, RLLP                                                                        Case No. 21-11011


Part 1: Summary of Post-confirmation Transfers

                                                                                                                     Total Since
                                                                                             Current Quarter        Effective Date

 a. Total cash disbursements                                                                                $6                  $102
 b. Non-cash securities transferred                                                                         $0                    $0
 c. Other non-cash property transferred                                                                     $0                    $0
 d. Total transferred (a+b+c)                                                                               $6                  $102

Part 2: Preconfirmation Professional Fees and Expenses
                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                        $0      $339,514             $0       $251,400
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Moye White LLP                     Lead Counsel                        $0      $339,514             $0       $251,400
        ii
        iii
        iv
        v
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       c
       ci


                                                                              Approved       Approved     Paid Current     Paid
                                                                            Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor             Aggregate Total
                                                                                       $0       $72,340             $0       $67,693
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i         Law Office of Silver & Brown Special Counsel                          $0       $67,965             $0       $67,693
       ii        G Griggs CPA, Inc.               Financial Professional               $0        $4,375             $0           $0
       iii
       iv
       v
       vi


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       vii
       viii
       ix
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            xci
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            xciii
            xciv
            xcv
            xcvi
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            xcviii
            xcix
            c
            ci
c.          All professional fees and expenses (debtor & committees)                         $0         $411,854           $0       $319,093

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                      % Paid of
                                                  Payments            Paid Current                                                Allowed
                                                 Under Plan             Quarter           Paid Cumulative      Allowed Claims      Claims
 a. Administrative claims                                  $411,854              $0               $319,093            $411,854         77%
 b. Secured claims                                         $866,341              $0                $47,691            $750,000          6%
 c. Priority claims                                            $48               $0                      $48               $547         9%
 d. General unsecured claims                                    $0                   $0                   $0                 $0         0%
 e. Equity interests                                $43,613,927                  $0                       $0


Part 4: Questionnaire
     a. Is this a final report?                                                                                Yes    No
             If yes, give date Final Decree was entered:                                   04/27/2023
        If no, give date when the application for Final Decree is anticipated:
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                      Yes    No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Travis Steffens                                                   Travis Steffens
Signature of Responsible Party                                         Printed Name of Responsible Party
Manager                                                                05/19/2023
Title                                                                  Date




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                                       Bankruptcy Table 51-100




                                       Non-Bankruptcy Table 1-50




                                      Non-Bankruptcy Table 51-100




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